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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

SUSAN JOHNSON,

             Plaintiff,

                                              Case No. 20-10210
v.                                            Honorable Linda V. Parker

UNITED AIRLINES, INC.,

          Defendant.
________________________________/

OPINION & ORDER (1) ADOPTING MAGISTRATE JUDGE’S REPORT
   AND RECOMMENDATION [ECF NO. 21] AND (2) GRANTING
DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
                 COMPLAINT [ECF NO. 15]

      Plaintiff Susan Johnson filed this pro se action against Defendant United

Airlines, Inc., alleging that Defendant breached a collective bargaining agreement

(“CBA”) and terminated Plaintiff based on her age and race. (See ECF No. 6.)

Defendant subsequently moved to dismiss Plaintiff’s First Amended Complaint.

(ECF No. 15.) The Court referred the matter to Magistrate Judge Elizabeth A.

Stafford for all pretrial proceedings, including a hearing and determination of all

non-dispositive matters pursuant to 28 U.S.C. § 636(b)(1)(A) and/or a report and

recommendation (“R&R”) on all dispositive matters pursuant to 28 U.S.C.

§ 636(b)(1)(B). (ECF No. 17.)
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      On February 8, 2021, Magistrate Judge Stafford issued an R&R,

recommending that the Court grant Defendant’s Motion to Dismiss. (ECF No. 21.)

In the R&R, Magistrate Judge Stafford concludes that Plaintiff’s race and age

discrimination claims should be dismissed because Plaintiff failed to timely file an

Equal Employment Opportunity Commission charge. (Id. at Pg. ID 153-55.)

Magistrate Judge Stafford further concludes that the claims related to the CBA are

preempted by the Railway Labor Act (id. at Pg. ID 155-58) and, even if the

discrimination claims are not preempted, they should be dismissed for failure to

state a claim (id. at Pg. ID 158-60).

      At the conclusion of the R&R, Magistrate Judge Stafford informed the

parties that they must file any objections to the R&R within 14 days. (Id. at Pg. ID

161.) She further advised that, “[i]f a party fails to timely file specific objections,

any further appeal is waived.” (Id. (citing Howard v. Secretary of HHS, 932 F.2d

505 (6th Cir. 1991).) No party objected and the time to do so has expired.

      The Court reviewed the February 8, 2021 R&R and concurs with the

conclusions reached by Magistrate Judge Stafford. The Court therefore (i) adopts

the R&R (ECF No. 21) and (ii) grants Defendant’s Motion to Dismiss Plaintiff’s




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First Amended Complaint (ECF No. 15).

     IT IS SO ORDERED.

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE

Dated: March 23, 2021

I hereby certify that a copy of the foregoing document was mailed to counsel of
record and/or pro se parties on this date, March 23, 2021, by electronic and/or
U.S. First Class mail.

                                             s/ R. Loury
                                             Case Manager




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